                                            Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 1 of 13




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       STEVE RABIN, et al.,                             Case No. 16-cv-02276-JST
                                                        Plaintiffs,
                                   8
                                                                                            ORDER DENYING COLLECTIVE
                                                  v.                                        CERTIFICATION
                                   9

                                  10       PRICEWATERHOUSECOOPERS LLP,                      Re: ECF No. 198
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            Before the Court is Plaintiffs Steve Rabin and John Chapman’s motion for conditional

                                  14   certification of their proposed collective action. ECF No. 198. They seek to certify a class of

                                  15   older applicants for employment at Defendant PricewaterhouseCoopers, LLC (“PwC”), alleging

                                  16   that such applicants were subject to age discrimination. As set forth below, the Court concludes

                                  17   that Rabin and Chapman are not substantially similar either to unqualified applicants or to deterred

                                  18   applicants, both of which categories are part of the larger collective action they seek to certify.

                                  19   Accordingly, the Court denies the motion.1

                                  20   I.       BACKGROUND

                                  21            Plaintiffs filed this putative collective action on April 27, 2016. ECF No. 1. They allege

                                  22   that PwC “engag[es] in an intentional, companywide, and systemic policy, pattern, and/or practice

                                  23   of discrimination against [older] applicants” and “maintain[s] discriminatory policies, patterns,

                                  24   and/or practices that have an adverse impact on [older] applicants and prospective applicants.”

                                  25

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                                         The Court has filed this order under seal because it contains material subject to sealing orders.
                                  27   Within seven days of the filing date of this order, the parties’ shall provide the Court a stipulated
                                       redacted version of this order, redacting only those portions of the order containing or referring to
                                  28   material for which the Court has granted a motion to seal and for which the parties’ still request
                                       the material be sealed. The Court will then issue a redacted version of the order.
                                            Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 2 of 13




                                   1   ECF No. 42 ¶ 115. Plaintiffs claim that PwC “maintains hiring policies and practices for giving

                                   2   preference to younger employees that result in the disproportionate employment of younger

                                   3   applicants.” Id. ¶ 6. According to the complaint, these practices also deter older applicants from

                                   4   applying for positions at PwC in the first place. Id. ¶ 11.

                                   5             Defendant PwC is a global accounting and auditing firm that employs more than 70,000

                                   6   employees in the Americas. ECF No. 198-6 at 19-20, 44. By PwC’s own account, its “workforce

                                   7   is strikingly young.” ECF No. 198 at 13 n.25. Two-thirds of its employees are in their 20s and

                                   8   early 30s. ECF No. 198-4 at 115. Within that group, most are unmarried (75 percent) and without

                                   9   children (92 percent). Id. “[F]or three out of four of them, PwC is their first job out of college.”

                                  10   Id. In 2013, PwC predicted that “almost 80 percent of PwC’s workforce will be comprised of

                                  11   Millennials.” Id. PwC’s chairman Bob Moritz explains that PwC has historically had a young

                                  12   workforce, in part because “most hires will eventually move on to other firms or other careers.” 2
Northern District of California
 United States District Court




                                  13   In 2011-2012 PwC, along with the University of Southern California and London School of

                                  14   Business, studied millennials in the workforce.3

                                  15             PwC utilizes a central hiring system, with companywide policies and procedures for each

                                  16   step of the hiring process, including job postings, interviewing, and hiring. Ex. 25. PwC also

                                  17   maintains a central recruiting database. Ex. 58. Interview processes are governed by uniform

                                  18   guidelines, and interviewers are trained centrally. Exs. 13, 25. Plaintiffs provide evidence about

                                  19   PwC recruitment and human resources strategies which suggest that the company favors younger

                                  20   employees and disfavors older applicants. For example, PwC emails refer to applicants over forty

                                  21   as “too old,” “matur[e],” or “non-traditional,” and PwC interviewers utilized questions suggesting

                                  22   that older applicants may not thrive with long hours or new technology. ECF No. 198-5 at 79

                                  23   (describing some candidates as “too old” and some as “a bit young”); id. at 26 (referring to a

                                  24   candidate as “mature”); id. at 35 (rating non-traditional candidate as highly as possible); ECF No.

                                  25

                                  26   2
                                         Bob Moritz, The U.S. Chairman of PwC on Keeping Millennials Engaged, https://hbr.org/2014
                                  27   /11/the-us-chairman-of-pwc-on-keeping-millennials-engaged (Nov. 2014), cited in ECF No. 198
                                       at 13 n.25.
                                  28   3
                                           Id.
                                                                                          2
                                           Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 3 of 13




                                   1   198-4 at 28; ECF No. 198-8 at 55. Plaintiffs also explain that recruiters appear disinterested in

                                   2   older applicants at recruiting events. ECF No. 198-8 at 32; id. at 92; id. at 248. PwC features

                                   3   predominantly young people on its website. ECF No. 198-6 at 1.4

                                   4          Plaintiffs also allege that PwC steers older applicants into less desirable seasonal positions,

                                   5   referred to as the Flexibility Talent Network (“FTN”), which have lesser benefits and fewer

                                   6   opportunities for training and career advancement. ECF No. 198 at 16. Moreover, PwC recruits

                                   7   along two separate tracks, “campus” and “experienced,” and much of PwC’s associate hiring is on

                                   8   the campus track. PwC interns come exclusively from campus hiring and 85-90% of interns

                                   9   convert into full-time associates. Exs. 45, 90. Moreover, PwC spends far more money on campus

                                  10   recruiting than it does on experienced track recruiting. Ex. 42.

                                  11          Plaintiffs now seek to certify a collective action of “all individuals aged 40 and older who,

                                  12   from October 18, 2013 forward, applied or attempted to apply but were not hired for a full-time
Northern District of California
 United States District Court




                                  13   Covered Position (Associate, Experienced Associate, and Senior Associate) in the Tax or

                                  14   Assurance lines of service.” ECF No. 198 at 26-27. Putative collective action members who

                                  15   “attempted to apply” are also called “deterred applicants.” See, e.g., ECF No. 211 at 28; ECF No.

                                  16   218 at 20.5 To qualify for one of these covered positions, applicants must have a bachelor’s or

                                  17   master’s degree in a particular field (for example, accounting or taxation), a minimum grade point

                                  18   average (“GPA”), a commitment to obtain a certified public accountant (“CPA”) license, and

                                  19   between zero and four years of experience. ECF No. 198-7 at 1-16.

                                  20          Plaintiff declares that he Steve Rabin applied for a position as a Seasonal Experienced

                                  21   Associate at the age of 50. ECF No. 198-8 at 208-09. At his interview, a senior manager asked,

                                  22

                                  23   4
                                         For example, the declaration of Kelli King states, “the pictures on PwC’s website depicted only
                                  24   younger people, and its promotional quotes include statements like, ‘I went to PwC out of
                                       college.’” ECF No. 198-8 at 159. Cynthia Woolbright declares that “when I visited PwC’s
                                  25   website in 2014 and 2017 to look at job postings and apply for jobs, I noticed that the website
                                       featured mostly young people.” Id. at 251. Joycelyn Wooten states that “PwC’s website, which
                                  26   features college campus career fairs and on-campus interviewing, also illustrates that PwC’s
                                       recruitment efforts are mainly focused on young, college-aged individuals.” Id. at 260.
                                  27   5
                                        This group is not every “deterred applicant,” but only that subset “who applied to FTN (i.e., non-
                                  28   Covered) positions and those who expressed interest in applying to the Covered Positions but
                                       whom PwC screened out or steered away before they could apply.” ECF No. 218 at 20.
                                                                                        3
                                           Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 4 of 13




                                   1   “The people in the cubicles are much younger than you. How would you fit in? Would you be

                                   2   able to work for a younger manager or director?” Id. at 209. Rabin answered the question

                                   3   satisfactorily, but was not hired for the position. He states that he could tell from the question and

                                   4   the manager’s tone of voice that he “viewed [Rabin’s] age as a disadvantage.” Id. Rabin also

                                   5   states that he attempted to apply on a separate occasion for an Associate position posted on PwC’s

                                   6   “campus” website, but was unable to do so because he did not have a school email or mailing

                                   7   address. Id. at 210.

                                   8          Plaintiff John Chapman declares that he was qualified for a position at PwC, and applied

                                   9   “numerous” times while he was between the ages of 45 and 48, but never received a position. Id.

                                  10   at 61. In a 2014 interview, a PwC manager asked Chapman whether he would be comfortable

                                  11   working with young people. Id. at 61-62. The manager “admitted that this was likely an

                                  12   inappropriate question to ask a candidate.” Id. at 62. Chapman did not get the job. During his
Northern District of California
 United States District Court




                                  13   three-year job application period, Chapman “attended several PwC ‘meet and greet’ and pre-

                                  14   interview events where [he] met approximately twenty to thirty PwC Associates, Experienced

                                  15   Associates, and Senior Associates. None of them appeared to be over the age of 30.” Id. While

                                  16   PwC employees described Chapman in internal emails as “very smart” and thought “highly of

                                  17   him,” ECF No. 198-5 at 73, they also described him as “non-traditional,” “matur[e],” and “not the

                                  18   right fit.” Id.; ECF No. 197-5 at 27.

                                  19          Both Rabin and Chapman state that their inability to obtain employment at PwC has hurt

                                  20   their larger career prospects. According to Rabin, “a significant portion (probably the vast

                                  21   majority) of accounting opportunities that [he is] interested in require ‘Big Four’ accounting

                                  22   experience.6 In other words, PwC (in tandem with its three main competitors) functions as a

                                  23   gateway employer in the accounting industry. [His] inability to secure a job with PwC has

                                  24   negatively affected [his] efforts to secure other accounting employment.” ECF No. 198-8 at 62.

                                  25   Similarly, Chapman states that “as a ‘Big 4’ firm, [PwC] functions as a gateway employer for the

                                  26   accounting industry.” Id. When Chapman has interviewed at other employers, they have asked

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                                       6
                                  28    The Big Four firms are the four largest accounting firms: PwC, Deloitte, KPMG, and Ernst &
                                       Young.
                                                                                       4
                                             Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 5 of 13




                                   1   why he did not have Big 4 experience or why he was not currently working at a Big 4 firm.

                                   2            Plaintiffs also offer the written testimony of Dr. David Neumark, a labor economist. Dr.

                                   3   Neumark studied preliminary hiring data from PwC and found “very strong statistical deviations

                                   4   from age-neutrality in hiring . . . strongly consistent with discrimination in favor of younger

                                   5   applicants.” ECF No. 198-3 ¶¶ 5, 14, 21. Neumark concluded that over a three-and-a-half year

                                   6   period, PwC hired younger applicants six times more often than older applicants. Id. ¶¶ 5, 14,

                                   7   Table 1. In his deposition, Neumark explained that he did not assess whether older applicants

                                   8   were discouraged from applying to PwC. ECF No. 211-4 at 9. Likewise, Neumark did not assess

                                   9   whether any other variables which correlate with age played a role in the statistical disparity. Id.

                                  10   at 13-14.

                                  11            23 individuals have already opted into the collective action, and 28 collective members and

                                  12   potential members, who applied to covered positions and were qualified but rejected, submitted
Northern District of California
 United States District Court




                                  13   declarations in support of Plaintiffs’ motion. ECF No. 198-1 at ¶¶ 127-155.

                                  14   II.      LEGAL STANDARD

                                  15            Plaintiffs seek collective certification of their Age Discrimination in Employment Act

                                  16   (“ADEA”) case under the standards set forth under the Fair Labor Standards Act (“FLSA”), 29

                                  17   U.S.C. § 216(b). The ADEA incorporates the collective action procedures of FLSA, set forth in

                                  18   29 U.S.C. § 216(b). See 29 U.S.C. § 626(b); Lewis v. Wells Fargo & Co., 669 F. Supp. 2d 1124,

                                  19   1130 (N.D. Cal. 2009) (“[B]ecause ADEA incorporates § 16(b) of the Fair Labor Standards Act

                                  20   into its enforcement scheme, the same rules govern judicial management of collective actions

                                  21   under both statutes. . . .”).

                                  22            29 U.S.C. § 216(b) provides that actions against employers may be brought “in any Federal

                                  23   or State court of competent jurisdiction by any one or more employees for and in behalf of himself

                                  24   or themselves and other employees similarly situated.” A suit brought on behalf of other

                                  25   employees is known as a “collective action,” a type of suit that is “fundamentally different” from

                                  26   class actions. Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 74 (2013) (citing Hoffmann–La

                                  27   Roche Inc. v. Sperling, 493 U.S. 165, 169–70 (1989)). For example, unlike in class actions,

                                  28   members of a collective action must file a “consent to sue” letter with the court in which the action
                                                                                         5
                                         Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 6 of 13




                                   1   is brought creating an opt-in class. 29 U.S.C. 216(b). Also different is that “‘conditional

                                   2   certification’ does not produce a class with an independent legal status, or join additional parties to

                                   3   the action.” Genesis, 569 U.S. at 75. Collective actions allow aggrieved employees “the

                                   4   advantage of lower individual costs to vindicate rights by the pooling of resources.” Hoffman–

                                   5   LaRoche, 493 U.S. at 170.

                                   6           Certification requires a showing that the potential class members are “similarly situated.”

                                   7   Lewis, 669 F. Supp. 2d at 1127 (citation omitted). A majority of courts, including district courts

                                   8   in this circuit, follow a two-step process for determining whether a class is “similarly situated.”

                                   9   See Harris v. Vector Marketing Corp., 753 F. Supp. 2d 996, 1003 (2010); Lewis, 669 F. Supp. 2d

                                  10   at 1127.

                                  11           At the first step, alternatively called “the notice stage” and “conditional certification,” the

                                  12   court considers whether the plaintiff submitted sufficient evidence to justify the conditional
Northern District of California
 United States District Court




                                  13   certification of the class and the sending of notice of the action to potential class members. Lewis,

                                  14   669 F. Supp. 2d at 1127. In making this determination, “the court requires little more than

                                  15   substantial allegations, supported by declarations or discovery, that the putative class members

                                  16   were together the victims of a single decision, policy, or plan.” Id. (internal quotation marks

                                  17   omitted). In other words, “[b]ecause the court generally has a limited amount of evidence before

                                  18   it, the initial determination is usually made under a fairly lenient standard and typically results in

                                  19   conditional class certification.” Leuthold v. Destination Am., Inc., 224 F.R.D. 462, 467 (N.D. Cal.

                                  20   2004); see also Lewis, 669 F. Supp. 2d at 1127. “The fact that a defendant submits competing

                                  21   declarations will not as a general rule preclude conditional certification.” Harris v. Vector Mktg.

                                  22   Corp., 716 F. Supp. 2d 835, 838 (N.D. Cal. 2010); see also Ramirez v. Ghilotti Bros. Inc., 941 F.

                                  23   Supp. 2d 1197, 1203 (N.D. Cal. 2013) (“[C]ourts need not even consider evidence provided by

                                  24   defendants at this stage[.]”).

                                  25              “At the second step of the two-step inquiry, ‘the party opposing the certification may

                                  26   move to decertify the class once discovery is complete.’” Heath v. Google Inc., 215 F. Supp. 3d

                                  27   844, 852 (N.D. Cal. 2016) (quoting Adams v. Inter–Con Sec. Sys., Inc., 242 F.R.D. 530, 536

                                  28   (N.D. Cal. 2007)). At that stage, the court evaluates the collective action under a stricter standard
                                                                                           6
                                         Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 7 of 13




                                   1   for “similarly situated.” Lewis, 669 F. Supp. 2d at 1127. At that point, the court considers several

                                   2   factors, “including the disparate factual and employment settings of the individual plaintiffs; the

                                   3   various defenses available to the defendant which appear to be individual to each plaintiff; fairness

                                   4   and procedural considerations; and whether the plaintiffs made any required filings before

                                   5   instituting suit.” Id. “Considerations involving the merits of claims are more appropriately

                                   6   addressed at the second stage of the analysis when [fewer] facts are in dispute.” Kellgren v. Petco

                                   7   Animal Supplies, Inc., No. 13CV644 L KSC, 2015 WL 5167144, at *4 (S.D. Cal. Sept. 3, 2015).

                                   8   III.    DISCUSSION

                                   9           To show that certification is appropriate, Plaintiffs “must provide substantial allegations,

                                  10   supported by declarations or discovery, that the putative class members were together the victims

                                  11   of a single decision, policy, or plan.” Saleh v. Valbin Corp., 297 F. Supp. 3d 1025, 1033 (N.D.

                                  12   Cal. 2017) (internal quotations and citations omitted). Stated differently, Plaintiffs must show that
Northern District of California
 United States District Court




                                  13   there is “some identifiable factual or legal nexus [that] binds together the various claims of the

                                  14   class members in a way that hearing the claims together promotes judicial efficiency and comports

                                  15   with the broad remedial policies underlying the FLSA.” Russell v. Wells Fargo & Co., No. 07-

                                  16   CV-3993-CW, 2008 WL 4104212, at *3 (N.D. Cal. Sept. 3, 2008). Plaintiffs argue that they have

                                  17   offered more than sufficient evidence to show that PwC deliberately recruits and hires younger

                                  18   workers to the detriment of older workers, and that these documents, witness declarations, and

                                  19   statistical analyses “bind[] together” the class members’ claims and make collective adjudication

                                  20   appropriate. ECF No. 198 at 28.

                                  21           PwC argues that this evidence does not show a company-wide policy or practice. The

                                  22   company describes ageist comments by PwC personnel as “anomalous.” ECF No. 211 at 13-14.

                                  23   PwC focuses on minor differences between the experiences of the declarants, for example that

                                  24   “some applied through their colleges despite being over 40, while others applied to Associate-level

                                  25   positions online rather than on campus,” or that “some declarants attended PwC recruiting events

                                  26   and felt ignored or unwelcome, while others attended similar events and were encouraged to

                                  27   apply.” Id. at 10-11. Finally, PwC notes that Dr. Neumark’s statistical evidence is subject to

                                  28   alternative interpretations that are inconsistent with liability. Id. at 16-18.
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                                         Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 8 of 13




                                   1          These differences, while perhaps significant at a later stage of the case, are insufficient to

                                   2   defeat conditional certification. In Heath v. Google, an ADEA case alleging age discrimination in

                                   3   hiring computer engineers, the defendant made similar arguments in opposing conditional

                                   4   certification. 215 F. Supp. 3d at 854 (arguing that the only uniform policy is an antidiscrimination

                                   5   policy, and that age-related comments by recruiters and interviews were mere “stray remarks”).

                                   6   That court concluded that the defendant’s arguments went to the merits and should be addressed at

                                   7   a future stage. Id.; see also c.f. Deatrick v. Securitas Sec. Servs. USA, Inc., No. 13-CV-05016-

                                   8   JST, 2014 WL 5358723, at *4 (N.D. Cal. Oct. 20, 2014) (reserving the consideration of “disparate

                                   9   factual and employment settings” and “various defenses available to the defendant with respect to

                                  10   each plaintiff” for the second stage of the certification process). Here, the Court likewise

                                  11   concludes that Plaintiffs have adequately shown a uniform decision, policy, or plan on the basis of

                                  12   PwC’s centralized and uniform hiring policies, and the substantial evidence of age disparities in
Northern District of California
 United States District Court




                                  13   hiring. ECF No. 198 at 13-25 (including declarations, PwC human resources policy documents,

                                  14   and statistical analyses showing a central uniform hiring policy which results in age disparities in

                                  15   hiring). PwC’s arguments to the contrary would be better addressed to the second stage of the

                                  16   proceedings.

                                  17        The Court’s inquiry does not end there, however. In addition to a showing that “the putative

                                  18   class members were together the victims of a single decision, policy, or plan,” Plaintiffs must

                                  19   show at this stage that they are “generally comparable to those they seek to represent.” Villa v.

                                  20   United Site Servs. of Cal., No. 5:12-CV-00318-LHK, 2012 WL 5503550, at *13 (N.D. Cal. Nov.

                                  21   13, 2012). Plaintiffs seek to certify a collective of “all individuals aged 40 and older who, from

                                  22   October 18, 2013 forward, applied or attempted to apply but were not hired for a full-time

                                  23   Covered Position (Associate, Experienced Associate, and Senior Associate) in the Tax or

                                  24   Assurance lines of service.” ECF No. 198 at 26-27. PwC argues that under Plaintiffs’ broad

                                  25   proposed class, “unqualified applicants . . . are not similarly situated to Chapman and Rabin, who

                                  26   allege they were qualified for the positions to which they applied,” and received an interview.

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                                           Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 9 of 13




                                   1   ECF No. 211 at 18.7 Plaintiffs do not dispute that their proposed collective includes unqualified

                                   2   applicants.

                                   3         As to this point, PwC’s arguments are more persuasive. The difference between Rabin and

                                   4   Chapman on the one hand, and facially unqualified applicants on the other, prevents the Court

                                   5   from conditionally certifying the class. “Although the standard for conditional certification at the

                                   6   notice-stage is lenient, there is a standard.” Heath, 215 F. Supp. 3d at 850 (emphasis added). A

                                   7   plaintiff “need not show that his position is or was identical to the putative class members’

                                   8   positions; a class may be certified . . . if the named plaintiff can show that his position was or is

                                   9   similar to those of the absent class members.” Labrie v. UPS Supply Chain Sols., Inc., No. C-08-

                                  10   3182 PJH, 2009 WL 723599, at *4 (N.D. Cal. Mar. 18, 2009) (citing Edwards v. City of Long

                                  11   Beach, 467 F. Supp. 2d 986, 990 (C.D. Cal. 2006)) (emphasis added). Chapman and Rabin cannot

                                  12   make this showing, because they are not similarly situated to facially unqualified applicants.
Northern District of California
 United States District Court




                                  13         PwC requires applicants to have a degree in a relevant field, have earned a minimum

                                  14   undergraduate GPA, and, for Experienced and Senior Associate positions, relevant work

                                  15   experience. ECF No. 198-7 at 1-41. PwC does an initial screen for basic qualifications, and only

                                  16   interviews candidates who pass the initial screen. ECF No. 212-3 at 24-25. This initial screen

                                  17   significantly narrows the pool of applicants. ECF No. 211 at 21. Chapman and Rabin were

                                  18   facially qualified: they possessed a college degree in a relevant major, had attained the required

                                  19   GPA, and had passed the CPA examination. ECF No. 198-8 at 61, 208. As such, they passed the

                                  20   initial screen and received interviews. Id. Not only will the inquiry as to their claims be different

                                  21   from the one as to unqualified applicants’ claims, but it is hard to imagine how unqualified

                                  22   applicants could ever be part of the class, given that an ADEA plaintiff “must show, among other

                                  23   things, that he was qualified for the position.” Heath, 215 F. Supp. 3d at 857.

                                  24         This case is like Heath. In that case, the court considered a motion to conditionally certify an

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                                  26     PwC makes additional arguments against certification including: (1) that campus recruiting is
                                       lawful, ECF No. 211 at 10; (2) that many recruiters do not know applicants’ age when they reject
                                  27   them, Id. at 24-25; and (3) that it is legal to conduct a generation focused workforce study, ECF
                                       No. 212-3 at 11. The Court declines to address these arguments because a discussion of the merits
                                  28   is not appropriate at this stage. Heath, 215 F. Supp. 3d at 855.

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                                           Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 10 of 13




                                   1   age discrimination collective action against Google. Named plaintiff Cheryl Fillekes sought to

                                   2   certify a class under the FLSA consisting of persons over 40 who interviewed in-person for certain

                                   3   positions at Google. Id. at 853. The district court conditionally certified that class. Another

                                   4   plaintiff, Robert Heath, sought to conditionally certify a different class consisting of “all

                                   5   applicants” for certain specified jobs from 2010 to the present “who were 40 years of age or older

                                   6   at the time of their application[,] and who were rejected for the position.” Id. at 855. For that

                                   7   proposed class, there was no requirement that class members have been invited for an in-person

                                   8   interview or passed any kind of screening. The district court declined to certify that class because

                                   9   although Heath was facially qualified, the “proposed class would include an unknown number of

                                  10   applicants who demonstrate no plausible qualifications for the job.” Id.; see also Trinh v. JP

                                  11   Morgan Chase & Co., No. 07-CV-1666, 2008 WL 1860161 (S.D. Cal. Apr. 22, 2008) (declining

                                  12   to certify collective for failure to show Plaintiffs were similarly situated to class members). The
Northern District of California
 United States District Court




                                  13   court noted that “there are likely to be wide disparities in the class members’ qualifications and/or

                                  14   experiences” such that certification was inappropriate. Heath, 215 F. Supp. 3d at 857-58.8

                                  15         Similarly here, it is clear that facially unqualified applicants are included in Plaintiffs’

                                  16   proposed class. “[Rabin’s] vast class would include every individual applicant over the age of 40

                                  17   without regard to their qualifications, including, for example, a lawyer applying for [an

                                  18   Experienced Associate].” Id. at 857. Because Plaintiffs Rabin and Chapman were facially

                                  19   qualified when they applied, ECF No 198-8 at 61, 208, the Court concludes they are not

                                  20   substantially similar to facially unqualified applicants.

                                  21         Plaintiffs argue on reply that limiting the class to qualified applicants prevents them from

                                  22   attacking discrimination in the initial screening process itself. ECF No. 218 at 19-20. They note

                                  23   that PwC recruiters are permitted to exercise discretion in the application of the screening criteria,

                                  24   such that “an offer can be extended to a candidate with any GPA,” and that while “[m]ajors should

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                                        The collective action the court declined to certify in Heath was narrower than Plaintiffs’
                                       proposed collective. The plaintiff in that case sought to certify a collective of all rejected
                                  27   applicants for particular positions within Google who were over 40. Heath, 215 F. Supp. 3d at
                                       855. In addition to all rejected applicants over 40, the proposed class in this case includes deterred
                                  28   non-applicants over 40. ECF No. 198 at 26-27.

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                                           Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 11 of 13




                                   1   be relevant to the specific [line of service] desired,” and that “[t]ypical majors are Accounting,

                                   2   Finance, Business, and MIS/Computer Science,” no particular undergraduate major is actually

                                   3   required. Id. (quoting Exs. 153, 154) (emphasis added by Plaintiffs). They allege that the

                                   4   screening process itself is another mechanism by which PwC discriminates against older

                                   5   applicants, given that pre-interview rejection rates are higher for older applicants than younger

                                   6   ones. Id. at 19. While there may be merit to Plaintiffs’ claims about the screening process – a

                                   7   question the Court does not decide – the fact remains that neither Rabin nor Chapman is typical of

                                   8   a facially unqualified applicant. Plaintiffs must find another way to challenge discrimination in

                                   9   the initial screen, either through its existing named plaintiffs – who were rejected at the initial

                                  10   screening stage for some jobs, although they were facially qualified – or through a different named

                                  11   plaintiff, if they wish to do so.9

                                  12         Likewise, Rabin and Chapman are not similarly situated to potential class members who
Northern District of California
 United States District Court




                                  13   were deterred from applying, because they did apply. ECF No. 212-3 at 28. In fact, Plaintiffs do

                                  14   not identify any individual deterred from applying who was over forty. ECF No. 198-8 at 171

                                  15   (declarant Salvador Maciel explaining he was deterred from applying just before his 40th birthday;

                                  16   all other declarants applied). Other courts in this circuit have concluded that plaintiffs who

                                  17   applied could not represent those deterred from applying in an ADEA collective certification case

                                  18   because they were not similarly situated. Pines v. State Farm Gen. Ins. Co., No. SACV89-

                                  19   631AHS(RWRX), 1992 WL 92398, at *12 (C.D. Cal. Feb. 25, 1992).

                                  20         In their reply brief and at the hearing on this motion, Plaintiffs attempted to recast “deterred”

                                  21   applicants as those who actually applied, but were steered away from covered positions into

                                  22   seasonal positions, and those who expressed interest in applying, but whom PwC steered away.

                                  23   ECF No. 218 at 20; ECF No. 231 at 36 (arguing that plaintiff Rabin should be considered a

                                  24   “deterred applicant” because “[a] recruiter reached out to him and steered him towards one of

                                  25   these FTN roles as opposed to inviting him to a full-time covered position”). As an initial matter,

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                                       9
                                  27    While Rabin and Chapman did not pass the initial screen or receive an interview for some
                                       applications, ECF No. 198-8 at 61, 208, they were facially qualified on each occasion they applied
                                  28   because they possessed the requisite GPA, degree, and other qualifications.

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                                            Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 12 of 13




                                   1   this new definition is not consistent with either the complaint or the dictionary. The complaint

                                   2   states that “PwC’s policies and practices have the effect of deterring prospective applicants ages

                                   3   40 and older from applying and denying job opportunities to those individuals ages 40 and older

                                   4   who do apply.” ECF No. 42 ¶ 11; see also id. ¶ 13 (same). And Merriam-Webster defines “deter”

                                   5   to mean “to turn aside, discourage, or prevent from acting.” Merriam-Webster’s Collegiate

                                   6   Dictionary 340 (11th ed. 2012). More importantly, Rabin and Chapman are not similarly situated

                                   7   to the class they seek to represent because they did in fact apply to covered positions. ECF No.

                                   8   198-8 at 61, 208.10

                                   9          Because Plaintiffs are not similarly situated to the class they seek to represent, the Court

                                  10   denies the motion to certify the proposed collective. The Court will not attempt to narrow the

                                  11   Plaintiffs’ proposed class to cure the defects the Court identifies in this order. Rather, the Court

                                  12   denies the motion without prejudice so that Plaintiffs can propose a class to which they are
Northern District of California
 United States District Court




                                  13   similarly situated, and Defendants can defend against that proposed class. See Rivera v. Saul

                                  14   Chevrolet, Inc., No. 16-CV-05966-LHK, 2017 WL 3267540, at *11 (N.D. Cal. July 31, 2017); see

                                  15   also Heath, 215 F. Supp. 3d at 858 (rejecting Plaintiff’s request to narrow a class if the court

                                  16   concluded Plaintiff was not substantially similar to that class because to “do so would improperly

                                  17   prevent [Defendant] from identifying infirmities in such an alternative definition and deprive the

                                  18   Court of sufficient evidence and argument on which to base such a determination”).

                                  19   ///

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                                  21   10
                                          The Court need not address the merits at this stage but notes that little case law supports the
                                  22   proposition that deterred applicants can maintain an ADEA collective action. Wynn v. Nat’l
                                       Broad. Co., 234 F. Supp. 2d 1067, 1102 (C.D. Cal. 2002) (dismissing without prejudice because
                                  23   the court was “highly skeptical” of plaintiffs’ ability to plead an ADEA collective on the basis of
                                       deterred applicants but allowing plaintiffs to amend so individual applicants could attempt to plead
                                  24   futility of applying); Pines, 1992 WL 92398, at *12 (declining to certify deterred applicants). But
                                       see Hyman v. First Union Corp., 982 F. Supp. 1, 8 (D.D.C. 1997) (concluding that an employee
                                  25   who expressed interest in applying to a position but was told he was overqualified could be added
                                       to an ADEA collective action).
                                  26
                                       As Plaintiffs admit, “identifying some types of deterred applicants could [also] pose
                                  27   ascertainability challenges.” ECF No. 218 at 20. Plaintiffs argue their class is ascertainable
                                       nonetheless because PwC maintains a list of potential applicants in its “Smashfly” database, which
                                  28   tracks individuals interested in working at PwC. Id. at 21-22. But the Court need not address the
                                       question now because it concludes the class cannot be conditionally certified for other reasons.
                                                                                        12
                                         Case 3:16-cv-02276-JST Document 236 Filed 07/26/18 Page 13 of 13




                                   1                                             CONCLUSION

                                   2        For the foregoing reasons, the Court DENIES the motion without prejudice. Plaintiffs may

                                   3   file an amended motion for collective certification within thirty (30) days. Failure to cure the

                                   4   deficiencies identified in this order or failure to file a subsequent motion within 30 days will result

                                   5   in a denial with prejudice of conditional certification of FLSA collective action.

                                   6          IT IS SO ORDERED.

                                   7   Dated: July 26, 2018
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                                   8
                                                                                                       JON S. TIGAR
                                   9                                                             United States District Judge

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Northern District of California
 United States District Court




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